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                                   STATEMENT OF FACTS

        I, Michael Bauknight, a Special Agent with the Federal Bureau of Investigation,
Washington Field Office, Washington, D.C. (hereinafter, “affiant”) being duly sworn, deposes and
states as follows:
       Your affiant is “an investigative or law enforcement officer” of the United States within
the meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United
States who is empowered by law to conduct investigations of and to make arrests for offenses
enumerated in Section 2516 of Title 18, United States Code.
       Your affiant is a duly sworn Special Agent (“SA”) of the Federal Bureau of Investigation
(“FBI”) and has been employed with the FBI since March of 2017. Your affiant is currently
assigned to the FBI Washington Field Office (“WFO”) in Washington, D.C. Your affiant
successfully completed New Agent training at the FBI Academy in Quantico, Virginia, which
included extensive training on drug enforcement and criminal investigations. Since April, 2020,
your affiant has been working on the FBI/ Metropolitan Police Safe Streets Task Force, which is
responsible for conducting investigations that target international drug trafficking organizations.
        Prior to your affiant’s work with the FBI, your affiant worked in law enforcement as a
Maryland State Trooper for approximately five years. Prior to leaving the Maryland State Police
your affiant was assigned to the Criminal Enforcement Division – Central South Region which
specialized in narcotic crimes across six counties in the State of Maryland. The Criminal
Enforcement Division was partnered with Homeland Security Investigations (“HSI”). Your affiant
holds a dual Bachelor’s Degree in Criminal Justice/Criminology and Psychology. Your affiant
has been working on federal narcotics investigations and has actively participated in several
investigations which led to the arrest and conviction of narcotics distributors. Your affiant has
conducted interviews and debriefs with individuals associated with narcotics trafficking, and your
affiant is familiar with the methods narcotics traffickers use in this region. During these
investigations, your affiant has participated in the execution of search warrants and the seizure of
evidence indicative of drug trafficking activities. As a SA with the FBI, your affiant has been
involved in the use of the following investigative techniques: interviewing informants and
cooperating witnesses (CW’s); conducting physical surveillance; supporting undercover
operations; and executing search and arrest warrants that have led to seizures of contraband.

        On or about May 2020, the Federal Bureau of Investigation (FBI) began an investigation
into a narcotics distribution network involving a suspected narcotics distributor later identified as
JOVAN ROBINSON, also known as JAVON ROBINSON (DOB: xx/xx/xxxx, PDID: xxx-xxx).
During the course of the investigation, in controlled purchases, an undercover officers working
with the FBI have repeatedly purchased narcotics from ROBINSON. For example, on February
25, 2021, a controlled narcotics purchase was conducted with an undercover officer (UCE-2) and
ROBINSON at the Overlook apartment building located at 3700 9th Street, S.E., Washington, D.C.
ROBINSON arrived in the parking lot in a Mercedes that is registered in his name. ROBINSON
told UCE-2 that he would need to run upstairs to get the drugs. A short time later ROBINSON
made contact with UCE-2. UCE-2 purchased $250 worth of pills and $900 worth of suspected
heroin in pre-recorded FBI funds. The drugs were transported to the Mid Atlantic DEA Laboratory
for analysis. The analysis revealed that the drugs contained N-Phenyl-N-[1-(2-phenylethyl)-4-
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piperidinyl] propanamide (Fentanyl) (calc. as Hydrochloride). UCE-2 was able to confirm that it
was ROBINSON who sold him the narcotics by reviewing a known photograph of ROBINSON.

       Based on the foregoing facts, your affiant believes that there is probable cause to believe
that ROBINSON has committed violations of 21 U.S.C. 841 (a)(1) and 841(b)(1)(C).




                                     _______________________________________
                                     MICHAEL BAUKNIGHT
                                     FEDERAL BUREAU OF INVESTIGATION



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4TH day of May, 2021.
                                                                      2021.05.04
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                                             _______________________________
                                             ZIA M. FARUQUI,
                                             U.S. MAGISTRATE JUDGE
